                                  Case 19-12484-MFW                   Doc 1       Filed 11/19/19            Page 1 of 16

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Juno USA, LP

2.   All other names debtor
     used in the last 8 years
     Include any assumed           Juno Lab, L.P.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  One World Trade Center                                          74 West Long Lake Road
                                  Suite 84A                                                       Suite 205
                                  New York, NY 10007                                              Bloomfield Hills, MI 48304
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.gojuno.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-12484-MFW                  Doc 1         Filed 11/19/19              Page 2 of 16
Debtor    Juno USA, LP                                                                                  Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  4859

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     See Annex 1                                                    Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Juno USA, LP                                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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                                        ANNEX 1

   PENDING BANKRUPTCY CASES FILED BY THE DEBTOR AND AFFILIATES OF THE DEBTOR

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a

voluntary petition in the United States Bankruptcy Court for the District of Delaware for relief

under chapter 11 of title 11 of the United States Code. The Debtors have moved for joint

administration of their cases, with the lead case number assigned to the chapter 11 case of Juno

USA, LP.


       •      Juno USA, LP
       •      Sabo One LLC
       •      Juno Oregon LLC
       •      Vulcan Cars LLC
       •      GT Forge, Inc.
       •      Omaha LLC
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                                    WRITTEN CONSENT OF
                                   THE GENERAL PARTNER
                                      OF JUNO USA, LP

                                         November 19, 2019

        In accordance with Section 17-405(d) of the Delaware Revised Uniform Limited
Partnership Act, as amended, and the Agreement of Limited Partnership of Juno USA, LP, a
Delaware limited partnership (the “Company”), the undersigned, being the General Partner (the
“General Partner”) of the Company, does hereby consent to the adoption of, and does hereby
adopt, the following written resolutions, to the actions set forth below, and directs that this written
resolutions (“Resolutions”) be filed with the minutes and proceedings of the Company:

       WHEREAS, on October 8, 2019, the General Partner authorized the wind-down of the
operations of the Company;

       WHEREAS, contemporaneously with the execution of this Consent, the General Partner’s
and the Company’s indirect parent company, GT Gettaxi Limited, a company organized under the
laws of the Republic of Cyprus (the “Parent”), appointed Melissa S. Kibler from Mackinac
Partners, LLC to serve as the chief restructuring officer (the “Chief Restructuring Officer”) of
the General Partner and Company;

       WHEREAS, as of November 13, 2019, David Eaton was appointed to be the sole director
(the “Director”) of the General Partner;

        WHEREAS, the General Partner has considered the views and recommendations of the
management and the financial and legal advisors of the Company regarding the liabilities and
liquidity situation of the Company, the strategic alternatives available to it and the effect of the
foregoing on the Company’s business; and

        WHEREAS, the General Partner has had the opportunity to consult with the management
and the financial and legal advisors of the Company and fully consider each of the strategic
alternatives available to the Company.

CHAPTER 11 FILING

         NOW, THEREFORE, IT IS RESOLVED, that in the judgment of the General Partner, it
is desirable and in the best interests of the Company, its creditors, and other parties in interest, that
the Company shall be and hereby is authorized to file or cause to be filed a voluntary petition for
relief (such voluntary petition, and the voluntary petitions to be filed by the Company’s affiliates,
collectively, the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”) in a court of proper jurisdiction (the “Bankruptcy
Court”); and it is further

       RESOLVED, that any officer duly authorized by the Company, the Director, or the Chief
Restructuring Officer (collectively, the “Authorized Officers”) are, and each of them hereby is,
authorized, directed, and empowered on behalf of the Company to execute and verify a Petition in
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the name of the Company under the Bankruptcy Code and to cause the same to be filed, in such
form and at such time as the Authorized Officers shall determine; and it is further

       RESOLVED, that the Authorized Officers, acting alone or with one or more other
Authorized Officers be, and they hereby are, authorized, empowered and directed to execute and
file on behalf of the Company all petitions, schedules, lists and other motions, papers, or
documents, and to take any and all action that they deem necessary or proper to obtain such relief,
including, without limitation, any action necessary to maintain the ordinary course operation of
the Company’s business; and it is further

       RESOLVED, that the Authorized Officers, and each of them, with full authority to act
without others, hereby are, authorized and directed to obtain postpetition financing and/or use of
cash collateral according to the terms negotiated and approved by the Authorized Officers,
including under one or more debtor-in-possession credit facilities; and to enter into any guarantees
and to pledge and grant liens on the Company’s assets as contemplated by or required under the
terms of such postpetition financing; and, in connection therewith, the Authorized Officers are
hereby authorized and directed to execute appropriate loan agreements and related ancillary
documents; and it is further

       RESOLVED, that the Authorized Officers, and each of them, with full authority to act
without others, hereby are, authorized and directed to work with the Company’s advisors to
effectuate a restructuring under section 1129 of the Bankruptcy Code, and to file all necessary
motions and papers in the United States Bankruptcy Court for the District of Delaware to obtain
approval of such restructuring, according to the terms negotiated and approved by the Authorized
Officers; and, in connection therewith, the Authorized Officers are hereby authorized and directed
to execute appropriate agreements and related ancillary documents; and it is further

        RESOLVED, that the Authorized Officers, and each of them, with full authority to act
without others, hereby are, and any employees or agents (including counsel) designated by or
directed by such Authorized Officers, be, and each hereby is, authorized and empowered to cause
the Company and such of its affiliates as any Authorized Officer deems appropriate to enter into,
to execute, deliver, certify, file, record, and perform such agreements, instruments, motions,
affidavits, applications for approvals or rulings of governmental or regulatory authorities,
certificates or other documents, and to take such other actions, as in the judgment of such officer
shall be necessary, proper, and desirable to prosecute to a successful completion the Company’s
chapter 11 case, to effectuate the restructuring of the Company’s debt, other obligations,
organizational form and structure, and ownership of the Company and its subsidiaries consistent
with the foregoing resolutions and to carry out and put into effect the purposes of the foregoing
resolutions, and the transactions contemplated by these resolutions, their authority thereunto to be
evidenced by the taking of such actions; and it is further

       RESOLVED, that the Authorized Officers, acting alone or with one or more other
Authorized Officers be, and they hereby are, authorized, empowered and directed to certify the
authenticity of these resolutions.
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RETENTION OF PROFESSIONALS

        IT IS FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby
are, authorized and directed to employ the law firm of Chipman Brown Cicero & Cole, LLP as
general bankruptcy counsel to represent and assist the Company in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations, including filing any pleadings; and in connection therewith, each of the Authorized
Officers, with power of delegation, are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of Chipman Brown Cicero & Cole, LLP; and it is further

         RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
directed to employ the firm of Mackinac Partners, LLC to represent and assist the Chief
Restructuring Officer and the Company in carrying out its duties under the Bankruptcy Code, and
to take any and all actions to advance the Company’s rights and obligations; and in connection
therewith, each of the Authorized Officers are, with power of delegation, hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of Mackinac Partners, LLC; and
it is further

        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
directed to employ the firm of Omni Agent Solutions as notice, claims, and balloting agent and as
administrative advisor to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and obligations;
and in connection therewith, each of the Authorized Officers, with power of delegation, are hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed appropriate applications for authority to retain the services of Omni Agent
Solutions; and it is further

        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
directed to employ any other professionals to assist the Company in carrying out its duties under
the Bankruptcy Code; and in connection therewith, each of the Authorized Officers, with power
of delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of any other professionals as necessary; and it is further

        RESOLVED, that each of the Authorized Officers be, and they hereby are, with power of
delegation, authorized, empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Officers
deem necessary, proper, or desirable in connection with the Company’s chapter 11 case, with a
view to the successful prosecution of such case.
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Debtor name Juno USA, LP

UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                 12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

Name of creditor and complete                                                   Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                               claim is
mailing address, including zip            email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


1   Sberbank Investments                  Sberbank Investments                  Bank Loan           Contingent                                              $171,300,000.00
    Molodezhynaya Ul 46                   c/o Herbert Smith Freehills CIS LLP
    Odintsovo, Moscow Region              Attn: Ilsur Mavlekeev
    Russia                                Tel: +7 495 363 6500



2   Talkdesk, Inc                         Talkdesk, Inc                         Vendor                                                                          $159,240.80
    535 Mission St, 12th Fl               Attn: Nuno Correia
    San Francisco, CA 94105               Email: nuno.correia@talkdesk.com




3   TapTica, Inc                          TapTica, Inc                          Vendor                                                                           $39,024.00
    121 Ha'chashmonaim St, 2nd Fl         Attn: Nitzan Rochman
    Tel Aviv, 6713328                     Tel: +972-3-5453900
    Israel                                Email: nitzan.r@taptica.com



4   Windels Marx Lane & Mittendorf, LLP   Windels Marx Lane & Mittendorf, LLP   Professional                                                                     $33,668.09
    156 W 56th St                         Attn: Dina Ramos                      services
    New York, NY 10019                    Tel: 212-237-1112




5   Sift Science                          Sift Science                          Vendor                                                                           $28,254.06
    123 Mission St, Ste 2000              Attn: Peter Nishinaga
    San Francisco, CA 94105               Email: pnishinaga@siftscience.com




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                              Page 1
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Debtor name Juno USA, LP                                                                                      Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                          Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                                     claim is
mailing address, including zip             email address of creditor contact           claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                  (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                       trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                       loans,                               deduction for value of collateral or setoff to
                                                                                       professional                         calculate unsecured claim.
                                                                                       services, and
                                                                                       government
                                                                                                                           Total Claim, if   Deduction        Unsecured claim
                                                                                       contracts)
                                                                                                                           partially         for value of
                                                                                                                           secured           collateral or
                                                                                                                                             setoff


6   AppsFlyer, Inc                         AppsFlyer, Inc                              Vendor                                                                           $19,598.40
    100 1st St, Ste 2500                   Attn: Ben Meier
    San Francisco, CA 94105                Email: ben.meier@appsflyer.com




7   Anodot Ltd                             Anodot Ltd                                  Vendor                                                                           $15,000.00
    16 Hatidhar St                         Attn: Amir Kupervas
    Ra’anana, 4366518                      Email: amir@anodot.com
    Israel



8   Doit International USA, Inc            Doit International USA, Inc                 Vendor                                                                           $10,279.59
    640 W California Ave, Ste 210          Attn: R. Rotschild; Liran; E. Greaves; D.
    Sunnyvale, CA 94086                    Offir
                                           Email: ranr@doit-intl.com; liran@doit-
                                           intl.com; egreaves@zendesk.com;
                                           doron.offir@doit-intl.com



9   TeleSign Corp                          TeleSign Corp                               Vendor                                                                            $8,303.76
    13274 Fiji Way, Ste 600                Attn: Lena Ellingboe
    Marina Del Rey, CA 90292               Email: lellingboe@telesign.com




10 Liftoff Mobile, Inc                     Liftoff Mobile, Inc                         Vendor                                                                            $7,862.23
   151 University Ave                      Attn: Pat Clayton
   Palo Alto, CA 94301                     Email: info@liftoff.io




11 ADP, LLC                                ADP, LLC                                    Vendor                                                                            $4,000.00
   1 ADP Blvd                              Attn: Alicia Capparucci
   Roseland, NJ 07068                      Tel: 855-547-8508
                                           Email: alicia.capparucci@adp.com




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                    Page 2
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Debtor name Juno USA, LP                                                                               Case No. (If known)

                                                                    (Continuation Sheet)

Name of creditor and complete                                                   Nature of the       Indicate if      Amount of unsecured claim
                                         Name, telephone number, and                                claim is
mailing address, including zip           email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


12 Sonatype, Inc                         Sonatype, Inc                          Vendor                                                                            $3,000.00
   8161 Maple Lawn Blvd, Ste 250         Attn: Dave Miller
   Fulton, MD 20759                      Tel: 301-684-8080
                                         Email: info@sonatype.com



13 RVM Enterprises, LLC                  RVM Enterprises, LLC                   Vendor                                                                            $1,652.00
   525 Washington Blvd, Ste 910          Attn: Judith Mines
   Jersey City, NJ 07310                 Tel: 212-693-1525




14 4Over4                                4Over4                                 Vendor                                                                            $1,500.00
   1941 46th St                          Tel: 718-932-2700
   Astoria, NY 11105                     Email: support@4over4.com




15 Wageworks, Inc                        Wageworks, Inc                         Vendor                                                                            $1,455.48
   1100 Park Pl, 4th Fl                  Attn: Jennifer Millar
   San Mateo, CA 94403                   Email: Jennifer.millar@wageworks.com




16 Mohamed Razzak                        Mohamed Razzak                         Litigation          Contingent,                                         Unknown
   c/o Held Hines                        Attn: Philip M Hines                                       Unliquidated
                                                                                                    & Disputed
   2004 Ralph Ave                        Tel: 718-531-9700
   Brooklyn, NY 11234                    Email: phines@heldhines.com




17 Yusef Abdelhamid                      Yusef Abdelhamid                       Litigation          Contingent,                                         Unknown
   c/o Held Hines                        Attn: Philip M Hines                                       Unliquidated
                                                                                                    & Disputed
   2004 Ralph Ave                        Tel: 718-531-9700
   Brooklyn, NY 11234                    Email: phines@heldhines.com




18 Geographic Location Innovations       Geographic Location Innovations        Litigation          Contingent,                                         Unknown
   c/o Stamoulis & Weinblatt             Attn: Stamatios Stamoulis                                  Unliquidated
                                                                                                    & Disputed
   800 N West St, 3rd Fl                 Tel: 302-999-1540
   Wilmington, DE 19801                  Email: weinblatt@swdelaw.com




 Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                               Page 3
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Debtor name Juno USA, LP                                                                                Case No. (If known)

                                                                     (Continuation Sheet)

Name of creditor and complete                                                    Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                               claim is
mailing address, including zip             email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                            (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                 trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                 loans,                               deduction for value of collateral or setoff to
                                                                                 professional                         calculate unsecured claim.
                                                                                 services, and
                                                                                 government
                                                                                                                     Total Claim, if   Deduction        Unsecured claim
                                                                                 contracts)
                                                                                                                     partially         for value of
                                                                                                                     secured           collateral or
                                                                                                                                       setoff


19 Hailo Technologies                      Hailo Technologies                    Litigation          Contingent,                                         Unknown
   c/o Pazuniak Law Office                 Attn: George Pazuniak                                     Unliquidated
                                                                                                     & Disputed
   901 N Market St, Ste 100                Tel: 302-478-4230
   Wilmington, DE 19801                    Email: gp@del-iplaw.com




20 Rideapp, Inc.                           Rideapp, Inc.                         Litigation          Contingent,                                         Unknown
   c/o Kasowitz Benson Torres              Attn: Andrew Rogers Kurland                               Unliquidated
                                                                                                     & Disputed
   1633 Broadway                           Tel: 212-506-3306
   New York, NY 10019




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                              Page 4
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    JUNO USA, LP, et al.,1                                 Case No. 19-XXXXX (XXX)

                     Debtors.                              (Joint Administration Requested)


                               CORPORATE OWNERSHIP STATEMENT

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the undersigned authorized officer of Juno USA, LP certifies that the following corporate entity

directly owns 10% or more of Juno USA, LP’s equity interest.


                     EQUITY HOLDER                                    PERCENTAGE OF TOTAL EQUITY


                      GT Forge, Inc.                                                  100%




1
      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number,
      are: Juno USA, LP (5772); Sabo One LLC (2759); Juno Oregon LLC (4462); Vulcan Cars LLC (4733); GT Forge,
      Inc. (1093); and Omaha LLC (8656). The mailing address for the Debtors listed above is 74 West Long Lake
      Road, Suite 205, Bloomfield Hills, Michigan 48304.
                  Case 19-12484-MFW                Doc 1      Filed 11/19/19        Page 15 of 16



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    JUNO USA, LP, et al.,1                                 Case No. 19-XXXXX (XXX)

                     Debtors.                              (Joint Administration Requested)


                                 LIST OF EQUITY SECURITY HOLDERS

             Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, Juno USA, LP

hereby provides the following list of holders of equity interests:



     NAME AND ADDRESS OF INTEREST                        KIND/CLASS OF                     PERCENTAGE OF
               HOLDER                                    INTEREST HELD                     INTERESTS HELD

             GT Forge, Inc.
    One World Trade Center, Suite 84A
         New York, NY 10007                          General Partner Interest                      100%




1
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      Road, Suite 205, Bloomfield Hills, Michigan 48304.
                                   Case 19-12484-MFW                            Doc 1        Filed 11/19/19            Page 16 of 16




 Fill in this information to identify the case:

 Debtor name         Juno USA, LP

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration                 Corporate Ownership Statement and List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 19, 2019                       X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Melissa S. Kibler
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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